1344 ‘Re”'°z"°) ease 1:19-cv-0042£EYIBOQQnVM-§HEYI04/16/19 PaQ€ 1 011

The 18 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of_cc_)urt. This fonn, approved by the J udicial Conference of the United States in September 1974, is required for the use of the C|erk of Court for the
purpose Of initiating the clvll docket Sheet. (Sh`l:` lNSI`R(/("'['[()N.S` ()N NEX/`PAG/:‘ ()[" THIS F()RM.)

 

I. (a) PLAINTIFFS DEFENDANTS
Empower Texans, lnc., Brandon C Wa|tens, Destin R Sensky Char|ie L Geren
(b) Coumy of Residence Of Firsr Lisred Plaimiff Mid|and county of Residence ofFirsr Lisred Defendam TfaViS
ain'EPT/iv 1/. s. P/iA/N'/'//v/r <'AsEs) mv us PLAlNT/F/<' <"A s/zs 011/m

NOTE: 1N LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(C) AttOmeyS (]"/`rm Name_ Addre.\'.\'. and Te/eph(me Numher) AttOl'n€yS (l/`Km)wn)

The Law Offices of Tony McDona|d; (512) 923-6893
807 Brazos Street, Suite 902, Austin, TX 78701

 

 

 

 

 
 

 

 

 

     

 

 

   

 

      

 

 

    
 

   

     

             

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ll. BASIS OF JUR|SDICT[ON (]’lace an "X" in One Box ()n/y) IIl. CITIZENSHIP OF PRlNCIPAL PARTIES (P/ace an A`X" in ()ne Bl)xfor P[ain!i[f
(["()r l)iver.\'/`ly ( 'a.s'es ()n/y) and ()ne Boxfor Defendam)
ij l U.S. Govemmem 5 3 Federal Question PTF DEF PTF DEF
Plaintiff (l/.S. (ir)vemmem Nol a I’arly) Citizen of This State Cl 1 D l Incorporated or Pnncipal Place EI 4 Cl 4
of Business ln This State
CI 2 U.S. Govemment 13 4 Diversity Citizen of Another State Cl 2 Cl 2 Incorporated and Principal Place ij 5 Cl 5
Defendant (lndicale (`iI/'zen.vh/p afl’arlie.v in [lem III) of Business ln Another State
Citizen or Subject ofa Cl 3 |J 3 Foreign Nation ij 6 13 6
Foreign Country
lV. NATURE OF SUlT (l’lace an “X" in ()ne Box ()n/y) Click here for' Nature of Suit Code Desc
|J 110 lnsurance PERSONAL INJURY PERSONAL lNJURY Cl 625 Drug, Related Seizure Cl 422 Appeal 28 USC 158 Cl 375 False Claims Act
13 120 Marine Cl 310 Airplane 13 365 Personal lnjury - of Property 21 USC 881 D 423 Withdrawal CI 376 Qui Tam (31 USC
CI 130 Mil|er Act 13 315 Airplane Product Produc\ Liability Cl 690 Other 28 USC 157 3729(a))
CI 140 Negotiable lnstrument Liability Cl 367 Health Care/ D 400 State Reappom`onment
Cl 150 Recovery of Overpayment |J 320 Assault, Libel & Phannaceutical » 1 ' ., ` 1 ’_ _ CI 410 Antitrust
& Enforcement of Judgment Slander Personal lnjury ij 820 Copyrights D 430 Banks and Banking
D 151 Medicare Act 13 330 Federal Employers’ Product Liability Cl 830 Patent ij 450 Commerce
Cl 152 Recovery of Defaulted Liability Cl 368 Asbestos Personal Cl 835 Patent - Abbreviated Cl 460 Deportation
Student Loans lj 340 Man'ne lnjury Product New Drug Application l'_'l 470 Racketeer Influenced and
(Excludes Veterans) Cl 345 Man`ne Product Liability C] 840 Trademark Corrupt Organizations
13 153 Recovery ovaerpayment Liability PERSONAL PROPERTY .' lam ' l '“':~ 1 - ' . j El 480 Consumer Credit
of Veteran’s Benef'lts Cl 350 Motor Vehicle 13 370 Other Fraud 13 710 Fair Labor Standards 13 861 HIA (1395f0 13 485 Telephone Consumer
13 160 Stockholders’ Suits Cl 355 Motor Vellicle CI 371 Truth in Lending Act Cl 862 Black Lung (923) Protection Act
13 190 Other Contract Product Liability ij 380 Other Personal Cl 720 Labor/Management |:l 863 DIWC/DlWW (405(£’,)) CI 490 Cable/Sat TV
CI 195 Contract Product Liability D 360 Other Personal Propeny Damage Relations Cl 864 SSID Title XVI ij 850 Securities/Commodities/
ij 196 Franchise Injury 13 385 Property Damage ij 740 Railway Labor Act ij 865 RSl (405(g)) Exchange
Cl 362 Personal lnjury - Product Liability Cl 751 Family and Medical CI 890 Other Statutory Actions
Medical Malpract` e Leave Act Cl 891 Agricultura| Acts
U_TY`:Y CIVIL"Rl HTS 1 `;/ ' ` ' ' ' ' ~ ; 13 790 Other Labor Litigation "`.'Y“’i" , ' ' ms c », Cl 893 Environmental Marters
13 210 Land Condemnation 5440 Other Civil Rights Habeas Corpus: CI 791 Employee Retirement 13 870 Taxes (U.S. Plaintiff 0 895 Freedom oflnfonnation
Cl 220 Foreclosure D 441 Voting |J 463 Alien De\ainee lncome Securi\y Act or Defendant) Act
Cl 230 Rent Lease & Ejectment Cl 442 Employment |J 510 Motions to Vacate Cl 871 lRS_Third Pany Cl 896 Arbitration
Cl 240 Tor\s to Land Cl 443 l~lousing,/ Sentence 26 USC 7609 EJ 899 Administrative Procedure
13 245 Tort Product Liability Accommodations Cl 530 General Act/Review or Appeal of
13 290 All Other Real Propeny Cl 445 Amer. waisabilities - Cl 535 Death Penalty ` lMMIGRATI , §' : Agency Decision
Employment Other: |J 462 Naturalization Application |J 950 Constitutionality of
Cl 446 Amer. w/Disabilities - Cl 540 Mandamus & Other Cl 465 Other lmmigration State Statutes
Other 13 550 Civil Rights Actions
Cl 448 Education 13 555 Prison Condition
CI 560 Civil Detainee -
Conditions of
Conf“lnement
V. ORIGIN (Place an “X" in ()ne Box ()n/y)
Xl Original_ El 2 Removed from D 3 Remanded from Cl 4 Reinstated or D 5 Trangfened from El 6 Multid_istrict |Il 8 Mu_|tid_istrict
Proceedmg State Court Appellate Coun Reopened Another District thlgatlon ~ L_itlgation -
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az tr_§.% €8£:§; &u°£.é. 16§5, ami §§ age §§d'i.z'éa§
Vl. CAUSE OF ACTloN Bvefd¥scr§,ti??hof&ause_ _
cola ion o e irstAmendment as incorporated through the Fourteenth Amendment under 42 U.S.C. 1983
Vll. REQUESTED lN l:l Cl-lECK lF THIS lS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAan 13 Yes NNO
Vlll. RELATED CASE(S)
(See in.\'lrucli()n.\):
IF ANY JUDGE N/A DOCKET NUMBER N/A y j __
DATE SIGNATURE OF_ ATTORNEY 01~` RECORD
4/16/2019 /s/ Tony Kelth McDona|d
FOR OFFlCE USE ONLY

RECEIPT # AMOUNT APPLYING 1FP JUDGE MAG. JUDGE

